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UNITED STATES I}ISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLIN()IS

MALIBU MEDIA, LLC,
Plaintiff, Civil Case No.
v. ]udge

JOHN DOE subscriber assigned IP address
75.} f8.218.40,

Defendant.

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ORDER ON MO'I`ION FOR LEAVE TO SERVE
THIRD PARTY SUBPOENA PRIOR TO A RULE 26(0 CONFERENCE

THIS CAUSE came before the Coult upon Plaintiff’S Motion for Leave to Serve A Third
Party Subpoena Prior to a Rule 26(t`) Conference (the “Motion”), and the Cou:'t being duly
advised in the premises does hereby:

FIND, ORDER AND ADJUDGE:

l. Plaintiff established that “good cause” exists for it to serve a third party subpoena
011 WideOpenWest (hereinafter the “ISP”). See Fz.`r.s't Time Videos, LLC v. Does ]-500, 276
F.R.D. 241, 249 (N.D. Ill. 2011) and A.'"isfa Records LLC v. Does 1-19, 551 F. Supp. 2d l, 6-7
(D.D.C. 2008).

2. Plaintiff may serve the ISP With a Rule 45 subpoena commanding the ISP to
provide Plaintiff With the true name and address of the Defendant to Whom the ISP assigned an
IP address as set forth on Exhibit A to the Complaint. Plaintiff shall attach to any such subpoena

a copy of this Order.

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3. Plaintiff may also serve a Rule 45 subpoena in the same manner as above on any
selvice provider that is identified in response to a subpoena as a provider of Internet services to
one of the Defendants.

4. If the ISP qualifies as a “cable operator,” as defined by 47 U.S.C. § 522(5), which
states:

the term “cable operator” means any person or group of persons

(A) Who provides cable service over a cable system and directly or through one
or more affiliates owns a significant interest in such cable system, or

(B) who otherwise controls or is responsible for, through any arrangement, the
management and operation of such a cable system.

it shall comply With 47 U.S.C. § 551(c)(2)(B), Which states:
A cable operator may disclose such [personal identifying] information if the
disclosure is . . . made pursuant to a court order authorizing such disclosure, if the
subscriber is notified of such order by the person to Whom the order is directed
by sending a copy of this Order to the Defendant.

5. Plaintiff may only use the information disclosed in response to a Rule 45

subpoena served on the ISP for the purpose of protecting and enforcing Plaintiff’ s rights as set

forth in its Cornplaint. £MB
DONE ANI) orn)nnnl) this _ day or §§Kt L.» , 201§.

IST CT JUDG

 
   
 

   
 

    
 
 
 

  
  
 

  
 

  
 

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UNITED STATES

